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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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UNITED STATES OF AMERICA,
-V- : $3 17 Cr. 548 (PAC)
JOSHUA ADAM SCHULTE,
OPINION & ORDER
Defendant.
-- -- x

Defendant Joshua Adam Schulte (“Defendant” or “Schulte”) is a former employee of the
Central Intelligence Agency (“CIA”) who is charged with stealing national defense information
from the CIA and transmitting it to Wikileaks. Schulte initially proceeded to trial in February
2020. The jury returned a guilty verdict on two counts, but failed to reach a unanimous verdict
on the national security charges. The Defendant moved for a mistrial with respect to those
counts, which the Court granted.

Shortly after the first trial ended, New York City emerged as the global epicenter of the
COVID-19 pandemic. As a result, the majority of in-person proceedings throughout the
Southern District of New York were suspended. Grand juries and jury trials were no exception.
Nevertheless, on June 8, 2020, the Government obtained a third superseding indictment (the
“Indictment”) in anticipation of a second trial.

Schulte now moves to dismiss the Indictment on the grounds that the grand jury venire
that returned the Indictment did not reflect a fair cross-section of the community, in violation of
the Fifth and Sixth Amendments, and the Jury Selection and Service Act of 1968 (“ISSA”), 28

U.S.C. § 1861 et seg. For the reasons set forth below, Schulte’s motion is DENIED.

 
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BACKGROUND
L Procedural History

Following an extensive investigation by law enforcement authorities, Schulte was
arrested in August 2017 on suspicion of leaking national defense information that he had
obtained while working for the CIA. (Schulte Br. at 2, ECF 435; Gov’t Opp. Br. at 1, ECF 444.)
Schulte has been in custody since his arrest. (Gov’t Opp. Br. at 1.)

On June 18, 2018, an indictment charged Schulte with thirteen counts of espionage and
other offenses. (See id.) On October 31, 2018, the Government obtained a superseding
indictment, which incorporated the same offenses as the initial indictment but added two
additional counts of unlawful disclosure and criminal contempt of court. (See id. at 1-2.)

On February 2, 2020, Schulte proceeded to trial on the eleven national security related
charges. (d. at 2.) On March 9, 2020, the jury returned a guilty verdict on two counts: (1)
making false statements to law enforcement, in violation of 18 U.S.C. § 1001, and (2) criminal |
contempt of court, in violation of 18 U.S.C. § 401(3). Ud.; Schulte Br. at 2.) The jury, however,
was unable to reach a unanimous verdict with respect to the remaining eight national security
charges. (Schulte Br. at 2.) Accordingly, the Court granted the Defendant’s motion for a
mistrial on those counts. (Gov’t Opp. Br. at 2.)

Immediately following the trial, New York City emerged as the global epicenter of the
COVID-19 pandemic. See Hopkins Hawley LLC v. Cuomo, No. 20-CV-10932 (PAC), 2021 WL
465437, at *1 (S.D.N.Y. Feb. 9, 2021) (describing the COVID-19 pandemic’s effects on New
York City). As a result, the vast majority of in-person proceedings throughout the Southern
District of New York (the “District”) were substantially dialed back or suspended altogether.

See, e.g., Standing Order, M-10-468 (CM) (S.D.N.Y. April 20, 2020). Grand juries and jury
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trials were not spared. See id. On June 8, 2020, however, the Government sought and obtained a
third superseding Indictment from a grand jury sitting in the District’s White Plains courthouse.
(Schulte Br, at 2; Gov’t Opp. Br. at 2.) The Indictment charges Schulte with nine criminal
counts relating to his alleged transmission of national defense information to WikiLeaks. (ECF
405.) According to the Government, the White Plains grand jury that returned the superseding
Indictment was the sole grand jury empaneled at the time. (Gov’t Opp. Br. at 14.)
Il. Motion to Dismiss

Schulte now moves to dismiss the Indictment on the grounds that it was unlawfully
obtained in violation of (1) the Fifth Amendment’s Due Process clause; (2) the Sixth
Amendment’s fair cross-section requirement; and (3) the ISSA. (ECF 435.) He primarily
contends that the White Plains grand jury venire—from which the Indictment was obtained—did
not reflect a fair cross-section of the African American and Hispanic American populations in
the community. And he contends that these effects are symptomatic of the exclusionary
processes that are inherent in the District’s jury selection system. Relatedly, Schulte argues that
the Government’s decision to seek the Indictment from White Plains was improperly made.

Ill. The District’s Jury Plan

To understand Schulte’s claims, it is necessary to orient ourselves to some background
knowledge of the District’s jury selection process. Under the JSSA, each federal district court
must “devise and place in operation a written plan for random selection of grand and petit
jurors.” 28 U.S.C, § 1863(a). The District’s jury selection plan (“Jury Plan”), which has been in
existence since 2009, provides the blueprint for the random selection of grand and petit jurors
throughout the District. See Amended Plan for the Random Selection of Grand and Petit Jurors

in the United States District Court for the Southern District of New York (hereinafter “Jury
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Plan”), https://www.nysd.uscourts. gov/sites/default/files/pdt/juryplan_feb_2009.pdf.

The Jury Plan operates as follows. Every four years, following the date of the
Presidential Election, two master jury wheels are constructed: one for Manhattan and one for
White Plains. See id. These master wheels, in turn, are filled with names that are randomly
drawn from voter registration lists of the various counties that make up the District. Jd, The Jury
Plan provides that “the number of names drawn from each county should be proportionate to the
number of registered voters in that county.” Allen, 2021 WL 431458, *1.

The two master wheels draw from a different array of counties. The Manhattan master
wheel randomly draws names from New York, Bronx, Westchester, Putnam, and Rockland,
while the White Plains master wheel draws names from Westchester, Putnam, Rockland, Orange,
Sullivan and Dutchess. See Allen, 2021 WL 431458, *1. Because Westchester, Putnam, and
Rockland counties are included in both master wheels, the Jury Plan instructs that the names
from these counties be “apportioned among the two master wheels to ‘reasonably reflect the
relative number of registered voters of each county.” See id.

“Periodically, names are drawn from the master wheels ‘in an amount sufficient to meet
the anticipated demands for jurors for the next six months.” Jd. (quoting Jury Plan). Those who
are drawn from the master wheels are sent jury questionnaires,’ which determine whether a
person is qualified to serve on a jury. Id. Jurors who meet the qualification requirements are

then placed in the respective qualified wheels for Manhattan and White Plains. Id. Finally, as

 

' The Jury Plan bases its qualification criteria on neutral standards such as the ability to speak
English, citizenship and age, mental capacity, and criminal record. (See Gov’t Opp. Br. at 5.)
Moreover, certain individuals are exempted from jury service by virtue of their professional
occupations. (See id.) Finally, the Jury Plan also provides a carve-out for individuals who can
demonstrate “undue hardship or extreme inconvenience” on a case-by-case basis. (See id.)
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“jurors are needed in each courthouse, names are drawn from each qualified wheel and
summonses are sent to those individuals.” Jd.

APPLICABLE LAW

 

IL Sixth Amendment

A “representative jury array remains the expression of the community's role in securing”
an impartial trial. Alston v. Manson, 791 F.2d 255, 256 (2d Cir. 1986), In recognition of that
promise, the Sixth Amendment guarantees a defendant the right to a jury venire drawn from a
fair cross-section of the community.” Taylor y. Louisiana, 419 U.S. 522, 530 (1975). To
establish a prima facie violation of the fair cross-section requirement, a defendant must prove
each of the following elements:

(1) That the group alleged to be excluded is a distinctive group in the community;

(2) That the representation of this group in venires from which Juries are selected is not
fair and reasonable in relation to the number of such persons in the community; and

(3) That this underrepresentation is due to systematic exclusion of the group in the jury-
selection process.

Duren v. Missouri, 439 U.S. 357, 364 (1979).

Demonstrating a prima facie violation of the fair cross-section requirement, however, is
not enough to prevail under the Sixth Amendment. /d. at 367. Under Supreme Court teachings,
“States remain free to prescribe relevant qualifications for their jurors and to provide reasonable
exemptions so long as it may be fairly said that the jury lists or panels are representative of the

community.” Id. (quoting Taylor, 419 U.S. at 538). Accordingly, the Government may rebut the

 

2 The fair cross-section guarantee has been understood to apply in the context of both grand and
petit juries. See United States y. Osorio, 801 F. Supp. 966, 973 (D. Conn. 1992).
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defendant’s prima facie case by showing a “significant state interest” behind the jury selection
process at issue.
Il. Fifth Amendment

The Equal Protection clause of the Fifth Amendment similarly forbids the exclusion of
racial minorities from grand and petit juries.? Castaneda v. Partida, 430 U.S. 482, 492 (1977).
To raise a plausible equal protection challenge against a jury selection system, the defendant
must show (1) a cognizable group; (2) that is substantially underrepresented; and (3) that the
selection procedure is not racially neutral. Alston, 791 F.2d at 257. Although this three-part test
resembles the Sixth Amendment framework, there is a critical difference: in contradistinction to
a fair cross-section challenge brought under the Sixth Amendment, an equal protection claim
must allege intentional discrimination by the jury selection system at issue. See id. (“The equal
protection clause .. . condemns underrepresentation of minorities only if it is the product of
intentional discrimination.”); see also United States v. Rioux, 97 F.3d 648, 659 (2d Cir. 1996).

Il. The JSSA

Finally, the JSSA sets forth the Nation’s policy that: “all litigants in Federal court
entitled to trial by jury shall have the right to grand and petit juries selected at random from a fair
cross section of the community in the district or division wherein the court convenes.” 28 U.S.C.
§ 1861. The Second Circuit has held that fair cross-section challenges brought under the JSSA
must also be analyzed using the Sixth Amendment’s Duren test. See United States v. LaChance,
788 F.2d 856, 864 (2d Cir. 1986). Thus, if a fair cross-section challenge fails under the Sixth

Amendment, it also fails under the JSSA. See id. (“[BJecause the Duren test governs fair cross

 

3 The Supreme Court has incorporated the Fourteenth Amendment’s Equal Protection clause into
the Fifth Amendment. See Bolling v. Sharpe, 347 U.S. 497, 499 (1954)
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section challenges under both the Act and the sixth amendment, our discussion of the statutory
challenge also disposes of his constitutional claim.”).

In addition to fair cross-section claims, a defendant may also assert other violations of the
JSSA if those violations constitute a “substantial failure to comply with its provisions.” Jd. at
870 (cleaned up); Allen, 2021 WL 431458, at *4. “Mere technical violations” of the ISSA,
however, are not actionable. LaChance, 788 F.2d at 864 (cleaned up). “Whether a violation is
substantial or merely technical depends upon the nature and extent of its effects on the wheels
and venire from which a defendant’s grand jury was derived.” Jd. (cleaned up).

ANALYSIS
1. Fair Cross-Section Challenge

Because Schulte’s fair cross-section claim arises under both the Sixth Amendment and
the ISSA, he must meet the three-part test set forth under Duren. See LaChance, 788 F.2d at
870.

The parties do not dispute that the first element under Duren has been satisfied. That
element asks whether “the group alleged to be excluded is a distinctive group in the community.”
Duren, 439 U.S. at 364. Here, Schulte alleges that African American and Hispanic American
jurors were unlawfully excluded from the jury venire. (Schulte Br. at 7.) These groups have
been recognized as “distinctive” by the Second Circuit. Rioux, 97 F.3d at 654 (“Rioux has
satisfied the first prong of the Duren test: Blacks and Hispanics are unquestionably “distinctive”
groups for the purposes of a fair-cross-section analysis.”); United States v. Barnes, 520 F.
Supp.2d 510, 514 (S.D.N.Y. 2007). Schulte has therefore satisfied the first element under
Duren. The Court holds, however, that Schulte cannot establish the second and third elements of

the Duren test. Accordingly, his fair cross-section challenge must be rejected.
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A. Underrepresentation

The second element under Duren examines whether the groups’ representation “in
venires from which juries are selected is not fair and reasonable in relation to the number of such
persons in the community.” 439 U.S. at 364. To answer this question, however, the Court must
first define the relevant variables, namely (a) the jury venire and (b) the community.

i, Relevant Jury Venire

The parties dispute which jury pool ought to be used to analyze the Defendant’s fair
cross-section challenge. Schulte relies on United States v. Rioux, 97 F.3d at 648, and contends
that the White Plains qualified wheel is the relevant jury venire. (Schulte Br. at 8.) The
Government argues that the White Plains master wheel constitutes the appropriate jury venire.
(Gov’t Opp. Br. at 15.) The Court agrees with the Government.

“Neither the Supreme Court nor the Second Circuit has defined the ‘relevant jury pool’
with any specificity.” United States v. Rioux, 930 F. Supp. 1558, 1565 (D. Conn. 1995)
(examining caselaw); see also Allen, 2021 WL 431458 (stating that the “Second Circuit has not
stated a preference for the use of one wheel over the other”). In Rioux, for example, the Second
Circuit observed that the “relevant jury poo! may be defined by: (1) the master list; (2) the
qualified wheel; (3) the venires, or (4) a combination of the three.” 97 F.3d at 655-56.
Aithough the Rioux court did designate the qualified jury wheel as the relevant venire, see id.,
that conclusion only followed because the parties agreed “that the qualified wheel may serve as
the relevant jury pool.” Jd. That is not the case here, so the Court finds Rioux to be of little
imnpact.

Instead, the Court concludes that the White Plains master wheel is the relevant jury

venire. As noted by the Government (Gov’t Opp. Br. at 16-18) several district courts within this
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circuit have defined the relevant jury pool with reference to “the systematic defect identified by
the defendant.” Rioux, F. Supp. at 1565-66; see Allen, 2021 WL 431458, *5 (defining jury pool
as both “the White Plains master wheel and the White Plains qualified wheel” because the
defendants’ allegations impacted both venires). Under that approach, the jury venire that bears
the brunt of the defendant’s allegations of systematic exclusion is determined to be the relevant
jury pool. See Allen, 2021 WL 431458, *5; Rioux, F. Supp. at 1565-66. Here, Schuite’s
allegations of systematic exclusion center almost entirely on the juror selection procedures for
the White Plains master wheel.* See infra 15-17. Accordingly, the appropriate venire is the
White Plains master wheel.
ii. Relevant Community

The most significant point of dispute between the parties is which counties constitute the
relevant community. According to Schulte, the relevant community must be the counties that
feed jurors to Manhattan because that is where his trial will be held. (Schulte Br. at 8; Schulte
Reply at 3-5, ECF 454.) But the Government responds that the northern counties from which
White Plains draws jurors represent the relevant community. (Gov't Opp. Br. at 9-14, 18.) The
Court agrees with the Government.

As a preliminary matter, it should be noted that the Southern District is not statutorily
divided into discrete divisions. See 28 U.S.C. § 112. Rather, the statutory law prescribes one
District that is composed of the following counties: Bronx, Dutchess, New York, Orange,

Putnam, Rockland, Sullivan, and Westchester. See id. Yet, what the statutory law leaves

 

4 For example, if Schulte had alleged that the juror questionnaire form displayed systematic
exclusion, see supra 4n. 1, then the qualified wheel would be the appropriate jury venire for
comparison. Because he does not do that, the master wheel must be the relevant venire.
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undivided, the District’s Jury Plan can divide territorially in the interests of “an impartial trial, of
economy and of lessening the burden of attendance.” United States v. Gottfried, 165 F.2d 360,
364 (2d Cir. 1948); see Jury Plan. Accordingly, the rationale justifying this territorial division is
based on administrative feasibility. See Allen, 2021 WL 431458, at *1,

With this background in mind, the legal issue at hand becomes straightforward. The
Second Circuit’s decision in United States v. Bahna, 68 F.3d 19 (2d Cir. 1995), frames the
inquiry and supplies its answer. In Bahna, a defendant was indicted, tried, and convicted of
various narcotics crimes in the Eastern District of New York’s Brooklyn courthouse. /d. at 20.
But following his initial trial, the defendant was granted a new trial. Id. Saliently, the
defendant’s second trial occurred before a different judge and in a different venue—the Eastern
District’s Uniondale courthouse.> Id.

Of concern here, the defendant raised a fair cross-section challenge following his second
conviction. Id, at 23-24. Under the Eastern District’s jury plan, the Brooklyn courthouse drew
jurors from all of the counties within the Eastern District, while the Uniondale courthouse only
drew from Nassau and Suffolk counties. See id. at 24. Accordingly, the defendant argued that
the Uniondale courthouse’s jury wheel underrepresented African American and Hispanic
American jurors in comparison to their demographics in the relevant community—which he
alleged to be all of the counties making up the Eastern District. Id.

The Second Circuit, however, rejected that reasoning and held that, “Where a jury venire

is drawn from a properly designated division, we look to that division to see whether there has

 

5 The trial court stated that the reason for the transfer “was to accommodate trial congestion in
the court’s calendar during a period of judicial emergency in the Eastern District.” Soares v.
United States, 66 F. Supp. 2d 391, 397 (E.D.N.Y. 1999).

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been any unlawful or unconstitutional treatment of minorities.” Jd. (emphasis added). And in
applying this principle, the Bahna court concluded that the correct community was not the entire
Eastern District, but the two counties—Nassau and Suffolk—comprising the Uniondale
courthouse. Id. Thus because there was no underrepresentation shown between the Uniondale
jury wheel (e.g. the jury venire) and the Uniondale counties (e.g. the community), the court
rejected the defendant’s fair cross-section challenge. Id.

Just as Bahna rejected the proposition that the relevant community was the entire Eastern
District, this Court also rejects Schulte’s contention that the relevant community is the
Manhattan counties or the entire District. See id. Because Schulte’s grand jury venire was
drawn from White Plains, Bahna instructs the Court to “look to that division” as the relevant
community in assessing his fair cross-section challenge. See id. The Court must therefore
conclude that the White Plains counties represent the relevant community.

There is one caveat. The precursor to applying Bahna, of course, is that it must have
been proper for the Government to have sought the Indictment from White Plains. 68 F.3d at 24
(“Where a jury venire is drawn from a properly designated division, we look to that division to
see whether there has been any unlawful or unconstitutional treatment of minorities.”) (emphasis
added). And on this issue, Schulte contends that the Government’s decision to seek the
Indictment from White Plains “deviated from the established, court-tested, and constitutional
practice of indicting defendants in the division in which the offenses allegedly occurred and in
which the case will be tried.” (Schulte Br. at 2.) This argument must be rejected for two
reasons.

First, the Court finds no persuasive or binding authority that supports the premise that the

Government must indict defendants in the same courthouse as where the trial is scheduled to

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occur. Instead, it is well established in this circuit that the “Sixth Amendment does not entitle a
defendant to be tried in a geographic location any more specific than the District where the
offense was allegedly committed,” United States v. Plaza-Andrades, 507 F. App’x 22, 26 (2d
Cir. 2013), and that a “jury may be drawn constitutionally from only one division and not the
whole district,” Bahna, 68 F.3d at 25 (citing Ruthenberg v. United States, 245 USS. 480 (1918).
It should come as no surprise then that a defendant may be indicted in one courthouse and tried
in another, as long as the prosecution stays within the jurisdiction of the relevant district.® See
Andrades, 507 F. App’x at 26; see also Fep. R. CRIM. P. 18 (stating that “the government must
prosecute an offense in a district where the offense was committed”), ef. United States v.
Fernandez, 480 F.2d 726, 730 (2d Cir. 1973) (“[S]ince the theft of which Fernandez was
convicted occurred in Queens, in the Eastern District of New York, trial in Westbury, in Nassau
County, a county adjacent to Queens and within the District, rather than in Brooklyn, the
headquarters of the Eastern District, does not offend the terms of these venue requirements.”).
Second, the prevalence of this practice as well as the compelling justification for it in this
case add further support for its propriety. As the Government points out, “it is common for cases
to be indicted by grand juries sitting in the White Plains courthouse and tried in the Manhattan
courthouse.” (Gov’t Opp. Br. at 4 (collecting cases).) And here, that practice was especially
justified in light of the COVID-19 pandemic, which had all but brought grand juries and other in-
person proceedings to a grinding halt during the summer of 2020. See supra 2-3. Thus, in

considering this compelling justification, the Court is unpersuaded by Schulte’s allegations that

 

6 Because this case concerns the grand jury phase of criminal proceedings, the principles
espoused in past precedents endorsing a flexible view of trial venue requirements Ought to apply
a fortiori in the grand jury context.

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the Government had engaged in “prosecutorial gamesmanship” and forum shopping by seeking
the Indictment from White Plains. Commonsense compels a contrary conclusion.

Finally, Schulte cites United States v. Johnson, 21 F. Supp. 2d 329 (S.D.N.Y. 1998), for
the proposition that the relevant community is “widely understood to mean the ‘district or
division where the trial will be held.’” Id. at 334-35, The differing facts in Johnson, however,
make that case distinguishable from the case at bar.

In Johnson, the defendants moved to dismiss an indictment obtained from White Plains
on the ground that the fair cross-section requirement had been violated. Id. at 333. In assessing
that claim, the Johnson court defined the relevant community as White Plains because that was
“where the trial [was] to be held.” Jd. at 335. The key fact there, however, was that the
defendants’ grand and petit juries were both drawn from White Plains, see id., which made it
only logical to conclude that the White Plains counties represented the relevant community. See
id. at 334-35. But the circumstances here are quite different; Schulte’s grand and petit juries
derive from different courthouses in the District. Accordingly, this factual distinction precludes
application of Johnson’s conclusion that the relevant community is “the district or division
where the trial is to be held.” See 21 F. Supp.2d at 334-35. Schulte’s reliance on Johnson is
misplaced.

iii. Underrepresentation Analysis

Having determined the relevant jury venire and community, the underrepresentation

analysis itself is clear-cut. The “primary approach used in this Circuit” is the absolute disparity

method. Barnes, 520 F. Supp. 2d at 514 (examining case law); see Allen, 2021 WL 431458, at

 

7 Alternatively, even if Johnson is undistinguishable, the Court is bound to apply Bahna, which
bears directly on this case and is a holding of the Second Circuit.

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*8 (“The absolute disparity method, on the other hand, appears to be the preferred method for
analyzing jury underrepresentation under the Sixth Amendment in the Second Circuit.”). The
Court will therefore analyze the underrepresentation inquiry using the absolute disparity method.

The absolute disparity method measures the difference between the groups’
representation in the relevant community and their representation in the jury venire. See Rioux,
97 F.3d at 655—56. For example, if African Americans compose 10% of the community but only
5% of the jury venire, the absolute disparity is 5%. See id. Under Second Circuit precedents,
absolute disparities nearly as high as 5% have not been found to satisfy the underrepresentation
element under Duren. See United States v. Biaggi, 909 F.2d 662, 677-78 (2d Cir. 1990) (holding
absolute disparities of 3.6% and 4.7% were insufficient to satisfy Duren’s second element); see
also Rioux, 97 F.3d at 658 (1.58% and 2.14% were insufficient); Allen, 2021 WL 431458, *8
(3.69% and 3.64% were insufficient); Barnes, 520 F. Supp. 2d at 515 (2.8% and 2.3% were
insufficient).

The Court holds that the absolute disparities here fall comfortably within the outer limits
provided by these past decisions. The partics do not dispute that African Americans make up
11.20% and Hispanic Americans make up 12.97% of the White Plains master wheel. (Gov’t
Opp. Br. at 20.) In the relevant community, African Americans make up 12.45% and Hispanic
Americans 14.12% of the jury eligible population. (Schulte Reply at 6-7; Gov’t Opp. Br. at 18.)
Accordingly, the absolute disparities are 1.25% for African Americans (12.45% - 11.20%) and
1.15% for Hispanic Americans (14.12% - 12.97%). Because those figures fall comfortably

within the tolerated disparities in past precedents, the Court concludes that Schulte has not met

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the second element under Duren.® 439 U.S. at 364.

B. Systematic Exclusion

Apart from the second Duren element, Schulte’s fair cross-section challenge must also
fail because he cannot meet the third element: systematic exclusion, which requires a showing
that the “underrepresentation is due to systematic exclusion of the group in the jury-selection
process.” Duren, 439 U.S. at 364.

In Rioux, the Second Circuit explained that there is “systematic exclusion when the
underrepresentation is due to the system of jury selection itself, rather than external forces.” 97
F.3d at 658. Under the external forces principle, outside causes of underrepresentation (such as
“demographic changes”) do not constitute systematic exclusion. Id.; see, e.g., Schanbarger v.
Macy, 77 F.3d 1424 (2d Cir. 1996) (per curiam) Gury selection process “drawn from voter
registration lists” did not constitute systematic exclusion); United States v. Little Bear, 583 F.2d
211, 414-15 (8th Cir. 1978) (“inclement weather” in North Dakota that allegedly led to the
underrepresentation of rural jurors was not systematic exclusion); United States v. Jones, 2006
WL 278248, at *3 (E.D. La. Feb. 3, 2006) (Hurricane Katrina’s alleged disparate impact on
potential African-American jurors was not systematic exclusion). The lion’s share of Schulte’s
systematic exclusion allegations is foreclosed by this principle.

First, Schulte contends that the Government systematically excluded African American
and Hispanic American jurors by seeking the Indictment in White Plains in lieu of the more

racially diverse Manhattan community. (Schulte Br. at 2.) But the reason the Government

 

8 Bven if, as Schulte suggests, the White Plains qualified wheel is used as the relevant jury
venire, the absolute disparities would be 3.69% and 3.64%. (See Gov’t Opp. Br. at 20.) Those
statistics do not reflect Constitutional infirmities under Second Circuit teachings.

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proceeded this way was because of an external force: the COVID-19 pandemic and its
substantial curtailment of in-person proceedings throughout the District. Rioux, 97 F.3d at 658.
This allegation therefore does not establish systematic exclusion.

Second, Schulte argues that the Jury Plan’s replenishment of the master wheels only once
every four years constitutes systematic exclusion. (Schulte Br. at 14.) According to Schulte, the
four-year period causes addresses to grow “stale” as people move to new residences, and because
African Americans and Hispanic Americans are, on average, younger and thus more likely to
move, he argues that these groups are systematically excluded. (See id. 14-15.) But even
granting the dubious premises that make up this deductive reasoning, the Court remains
unpersuaded because, again, the true cause of the exclusion—younger people moving more
often—is an external force, not a systematic defect inherent in the Jury Plan. Rioux, 97 F.3d at
658 (concluding that a jury system that led to undeliverable questionnaires did not constitute
systematic exclusion). At bottom, the Court cannot charge the District’s Jury Plan with a Sixth
Amendment violation because of how often people move residences throughout the District.

Third, Schulte asserts that the Jury Plan’s exclusive reliance on voter registration lists
constitutes systematic exclusion. This claim, however, is foreclosed by the Second Circuit’s
decision in Schanbarger. See 77 F.3d at 1424 (“{A] jury venire drawn from voter registration
lists violates neither the Sixth Amendment's fair cross-section requirement nor the Fifth
Amendment’s guarantee of Equal protection.”).

Finally, Schulte alleges that the exclusion of “inactive voters” in certain counties within
White Plains constitutes systematic exclusion because African Americans and Hispanic

Americans are more likely to be inactive voters. (Schulte Br. at 15.) But again, the cause of the

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alleged exclusion here (e.g. people moving) is an external force.” Rioux, 97 F.3d at 658.
Accordingly, this argument must be rejected under Rioux." See id.

In sum, Schulte cannot establish the second and third elements under Duren.
Accordingly, his fair cross-section challenge under the Sixth Amendment and J SSA must be
rejected. |

i. Equal Protection Challenge

Schulte next contends that the underrepresentation of African American and Hispanic
American jurors violates the Equal Protection clause under the Fifth Amendment. (Schulte Br. at
16-17.) As noted above, the Equal Protection clause forbids the exclusion of racial minorities
from grand and petit juries. Castaneda, 430 U.S. at 492. But to establish a prima facie violation
of equal protection, Schulte must furnish “proof of discriminatory intent.” United States v.
Biaggi, 909 F.2d 662, 677 (2d Cir. 1990). Because Schulte cannot make such a showing, his
Equal Protection challenge fails. His only contention on this element is that the

underrepresentation of African Americans and Hispanic Americans “cannot be the result of

 

° Under New York law, voters are designated “inactive” when a “County Board received
information indicating that a voter may no longer be living at her address of registration.”
Common Cause/New York v. Brehm, 432 F. Supp.3d 285, 290 (S.D.N.Y. 2020) (examining New
York voting law).

10 The Court is unpersuaded by Schulte’s remaining allegations of systematic exclusion, which
are that (1) jurors drawn from the overlapping counties were inequitably prorated between the
two courthouses, and (2) a technical glitch in the White Plains master wheel excluded jurors who
had provided an alternative address when registering to vote. As to the former claim, Schulte has
not shown that this alleged error caused the underrepresentation at issue. See Allen, 2021 WL
431458, at *11 (finding same error to have had “minimal” effect on venires). And as to the latter
claim, the parties concede that this glitch actually augmented, not diminished, African American
and Hispanic American representation in the White Plains master wheel. (Gov't Opp. Br. at 17.)
Accordingly, these allegations do not satisfy the third prong under Duren.

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chance.” (Schulte Br. at 17.) But the Court will not assume or infer that this District has been
operating under an intentionally discriminatory Jury Plan since 2009. See Rioux, 97 F.3d at 659
(rejecting Equal Protection challenge due to lack of evidence showing intentional
discrimination). Therefore, the Defendant’s Equal Protection claim must be rejected.

TH. JSSA

Schulte’s remaining claims arise under the JSSA. To succeed on these claims, he must
demonstrate a “substantial failure to comply” with the JSSA’s provisions. LaChance, 788 F.2d
at 870, “Mere technical violations of the procedures prescribed by the Act do not constitute
substantial failure to comply with its provisions.” Jd. (cleaned up). The criteria for
differentiating between a substantial and technical error turns on the “nature and extent of its
effects[.]” id. The Court holds that Schulte cannot demonstrate a substantial failure to comply
with the JSSA and that his statutory claims must therefore be rejected.”

As an initial matter, Schulte repleads his Sixth Amendment fair cross-section challenge
under the ISSA. (Schulte Br. at 19.) But given that the Duren test governs fair cross-section
challenges brought under both the Sixth Amendment and the JSSA, this claim must be dismissed
for the reasons stated above. See supra 7-17.

Apart from his fair cross-section challenge, Schulte also contends that the following
defects constitute substantial violations of the JSSA: (1) the Government’s decision to seek the
Indictment from White Plains and not Manhattan; (2) the exclusion of inactive voters from

certain counties located in the White Plains array; (3) the allegedly erroneous proration of jurors

 

'1 To be sure, these arguments were already rejected by the Court under the systematic exclusion
prong of the Sixth Amendment analysis. See supra 15-17. But because Schulte pleads these
defects as separate violations of the JSSA, the Court conducts a separate analysis here.

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from the counties that overlap both courthouses; and (4) the clerical error by which voters who
had registered with an alternate mailing address were excluded from jury selection. (Schulte Br.
at 19 -- 22; Schulte Reply at 11-15.) For the following reasons, the Court concludes that these
allegations do not offend the JSSA.

The Government’s Decision. The Government’s appropriate decision to seek the
Indictment in White Plains was entirely proper and in accordance with the Constitution, ISSA,
and customary practice. See supra 11-13. Accordingly, this prosecutorial decision cannot be
said to contravene the JSSA.

Exclusion of Inactive Voters. In United States v. Allen, 2021 WL 431458, at *10, Judge
Roman addressed the issue of whether the exclusion of inactive voters from certain counties used
by White Plains violated the ISSA. See id. Judge Roman concluded that the exclusion did not,
reasoning that it is “entirely logical for a jury selection process to exclude individuals who have
since moved,” see id., and even if it did, that the defect was merely a “technical violation” of the
JSSA. Id. Because the Court agrees with this reasoning on all counts, it concludes that the
exclusion of inactive voters here does not violate the JSSA.

Erroneous Proration & Alternate Mailing Address. Lastly, Schulte argues that
prospective jurors from the overlapping counties of Westchester, Putnam, and Rockland were
incorrectly prorated between the two courthouses, and that a technical glitch inadvertently
excluded jurors who had registered to vote with alternate mailing addresses. (Schulte Br, at 21—
22; Schulte Reply at 13-14.) The Court is unpersuaded. As to the former contention, Schulte
does not explain how the alleged proration error constitutes a “substantial” violation of the JSSA,
especially where its “effect” appears to be “minimal.” Allen, 2021 WL 431458, at *11 (rejecting

the same argument on the basis that it was merely a “technical violation of the ISSA”). As to the

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Jatter point, it is undisputed that the alternate mailing address defect actually led to an increase of
representation of the very minority groups that Schulte contends were underrepresented, (Gov't _
Opp. Br. at 17.) Thus empiricism precludes the notion that the violation was “substantial” in
nature. LaChance, 788 F.2d at 870 (explaining that the inquiry for whether a violation is
substantial is the “extent of its effect on the wheels”); see also Allen, 2021 WL 431458, at *11
(rejecting same argument on the ground that it was merely a technical violation). In sum, the
Court concludes that Schulte has not demonstrated a plausible violation of the JSSA.
CONCLUSION

For the forgoing reasons, the motion to dismiss is DENIED.

Dated: New York, New York SO ORDERED

March 24, 2021
[4a A Aidit

PAUL A. CROTTY
United States District Judge

 

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